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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA, Honorable Nancy G. Edmunds
Plaintiff, Case no. 18-cr-20559

Vv.

D-2 NASSIF SAMI DAHER,

Defendant.

 

GOVERNMENT’S UNCLASSIFIED MEMORANDUM IN OPPOSITION
TO DEFENDANT’S MOTION TO DISCOVER EVIDENCE SECURED
PURSUANT TO THE FOREIGN INTELLIGENCE SURVEILLANCE
ACT OF 1978, AS AMENDED BY 50 U.S.C. §§ 1801-1812

 
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Uniting and Strengthening America by Providing Appropriate Tools Required to
Intercept and Obstruct Terrorism Act (“PATRIOT Act”), Pub. L. No. 107-

 

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I. INTRODUCTION

The Government is filing this unclassified Memorandum in Opposition to
the Defendant’s Motion to Discover Evidence Secured Pursuant to the Foreign
Intelligence Surveillance Act of 1978 (FISA), as Amended by 50 U.S.C. §§ 1801-
1812-(Doc. 28). The defendant seeks: (1) a determination by the government
regarding the submission of an affidavit from the Attorney General attesting that
disclosure of “the FISA application, FISA Order, and all cogent materials thereto”
(i.e., the FISA materials) would harm the national security; (2) a copy of any such
affidavit; (3) an in camera, ex parte review of the FISA materials by this Court to
determine whether the surveillance was lawfully authorized and appropriately
conducted; and (4) disclosure of the FISA materials. (Doc. 28 at 22-23).!

The defendant’s motion has triggered this Court’s review of the FISA
materials to determine whether the FISA information was lawfully acquired and .
whether the electronic surveillance was made in conformity with an order of
authorization or approval. FISA specifies:

[W]henever a motion is made pursuant to subsection (e) .
.. to discover or obtain applications or orders or other
materials relating to electronic surveillance or to
discover, obtain or suppress evidence or information
obtained or derived from electronic surveillance under

this Act, the United States district court... shall... if
the Attorney General files an affidavit under oath that

 

' [CLASSIFIED MATERIAL REDACTED]

 
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disclosure or an adversary hearing would harm the
national security of the United States, review in camera
and ex parte the application, order, and such other
materials relating to the surveillance as may be necessary
to determine whether the surveillance of the aggrieved
person was lawfully authorized and conducted.

50 U.S.C. § 1806(f). The government is filing herewith such an affidavit.’
Consequently, the government respectfully submits that, for the reasons set forth
herein, this Court must conduct an in camera, ex parte review of the documents
relevant to the defendant’s motion in accordance with the provisions of 50 U.S.C.
§ 1806(f).°

The government respectfully submits that, for the reasons set forth below,
and as the Court’s in camera, ex parte review will show: (1) the electronic
surveillance at issue was lawfully authorized and lawfully conducted in
compliance with FISA; (2) disclosure to the defendant of the FISA materials and
the government’s classified submissions is not authorized because the Court is able
to make an accurate determination of the legality of the electronic surveillance

without disclosing the FISA materials or portions thereof; (3) the FISA materials

 

* The Attorney General’s affidavit (“Declaration and Claim of Privilege”) is filed both
publicly and as an exhibit in the Sealed Appendix to this classified filing. See Sealed Exhibit 1.

3 [CLASSIFIED MATERIAL REDACTED]

 
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should not be disclosed; (4) the FISA information should not be suppressed;* and
(5) no hearing is required.
A. BACKGROUND

[CLASSIFIED MATERIAL REDACTED]

On August 14, 2018, a grand jury in the Eastern District of Michigan
returned an indictment charging Daher with four counts of wire fraud, in violation
of 18 U.S.C. §§ 1343, 2 (Doe. 1).°

On September 12, 2018, pursuant to 50 U.S.C. § 1806(c), the United States
provided notice to Daher and this Court that it “intends to offer into evidence, or
otherwise use or disclose . . . information obtained or derived from electronic
surveillance conducted pursuant to [FISA].” (Doc. 21). On February 8, 2019,
Daher filed his motion. (See Doc. 28).

[CLASSIFIED MATERIAL REDACTED]°

 

* Although the defendant’s motion does not explicitly seek suppression of the FISA
information, the defendant alleges that the government violated FISA’s minimization procedures
and obtained a FISA order in violation of the Fourth Amendment. (See Doc. 28 at 10, 13). To
the extent that the defendant’s arguments can be construed as supporting a motion to suppress,
the government respectfully requests that this Court also deny suppression of the FISA materials.

> The indictment also charged Kamel Mohammad Rammal (Rammal) with 14 counts of
wire fraud. On December 6, 2018, Rammal pled guilty to one count of wire fraud. On April 18,
2019, he was sentenced to one year and one day in prison.

° Asa result of the redactions, the pagination and footnote numbering of the classified
memorandum and the unclassified memorandum are different.

 
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B. OVERVIEW OF THE FISA AUTHORITIES
[CLASSIFIED MATERIAL REDACTED]
1. [CLASSIFIED MATERIAL REDACTED]

[CLASSIFIED MATERIAL REDACTED]

2. The FISC’s Findings

[CLASSIFIED MATERIAL REDACTED]

Il. THE FISA PROCESS

A. OVERVIEW OF FISA’

Enacted in 1978, and subsequently amended, FISA authorizes the Chief
Justice of the United States to designate eleven United States District Judges to sit
as judges of the FISC. 50 U.S.C. § 1803(a)(1). The FISC judges are empowered
to consider ex parte applications submitted by the Executive Branch for electronic
surveillance and physical search when a significant purpose of the application is to
obtain foreign intelligence information, as defined in FISA. As originally enacted,
FISA required that a high-ranking member of the Executive Branch of government
certify that “the purpose” of the FISA application was to obtain foreign

intelligence information. In 2001, FISA was amended as part of the Uniting and

 

’ The provisions of FISA that address electronic surveillance are found at 50 U.S.C.
§§ 1801-1812; those that address physical search are found at 50 U.S.C. §§ 1821-1829. These
two sets of provisions are in many respects parallel and almost identical. Citations herein are
generally to the two sets of provisions in parallel, with the first citation being to the relevant
electronic surveillance provision, and the second citation being to the relevant physical search
provision. This Memorandum references the statutory language in effect at the time relevant to
this matter.

 
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Strengthening America by Providing Appropriate Tools Required to Intercept and
Obstruct Terrorism Act (“USA PATRIOT Act”).® One change to FISA
accomplished by the USA PATRIOT Acct is that a high-ranking official is now
required to certify that the acquisition of foreign intelligence information is “a
significant purpose” of the requested surveillance. 50 U.S.C. § 1804(a)(6)(B).

FISA provides that the Attorney General may authorize the emergency
employment of electronic surveillance and physical search if the Attorney General
makes certain determinations set forth in the statute. See 50 U.S.C. §§ 1805(e)(1),
1824(e)(1).” Emergency electronic surveillance or physical search must comport
with FISA’s minimization requirements, which are discussed below. 50 US.C.
§§ 1805(e)(2), 1824(e)(2).

B. THE FISA APPLICATION

FISA provides a statutory procedure whereby the Executive Branch may
obtain a judicial order authorizing the use of electronic surveillance and/or physical
search within the United States where a significant purpose is the collection of
foreign intelligence information.” 50 U.S.C. §§ 1804(a)(6)(B), 1823(a)(6)(B).

Under FISA, foreign intelligence information is defined as:

 

8 Pub. L. No. 107-56, 115 Stat. 272 (2001).
9 [CLASSIFIED MATERIAL REDACTED]

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(1) information that relates to, and if concerning a United States person! is
necessary to, the ability of the United States to protect against—

(A) actual or potential attack or other grave hostile acts of a
foreign power or an agent of a foreign power;

(B) sabotage, international terrorism, or the international
proliferation of weapons of mass destruction by a foreign
power or an agent of a foreign power; or

(C) clandestine intelligence activities by an intelligence

service or network of a foreign power or by an agent of a
foreign power; or

(2) information with respect to a foreign power or foreign territory that
relates to, and if concerning a United States person is necessary to—

(A) the national defense or the security of the United

States; or

(B) the conduct of the foreign affairs of the United States.
50 U.S.C. § 1801(e); see also 50 U.S.C. § 1821(1) (adopting the definitions from
50 U.S.C. § 1801). With the exception of emergency authorizations, FISA requires
that a court order be obtained before any electronic surveillance or physical search
may be conducted.

An application to conduct electronic surveillance pursuant to FISA must

contain, among other things:

(1) the identity of the federal officer making the application;

(2) the identity, if known, or a description of the specific target
of the electronic surveillance;

 

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(3) a statement of the facts and circumstances supporting
probable cause to believe that the target is a foreign power or an
agent of a foreign power, and that each facility or place at which
the electronic surveillance is directed is being used, or is about to
be used, by a foreign power or an agent of a foreign power;

(4) a statement of the proposed minimization procedures to be
followed;

(5) a description of the nature of the information sought and the
type of communications or activities to be subjected to the
surveillance;

(6) a certification, discussed below, of a high-ranking official;
(7) asummary of the manner or means by which the electronic
surveillance will be effected and a statement whether physical
entry is required to effect the electronic surveillance;
(8) the facts concerning and the action taken on all previous
FISA applications involving any of the persons, facilities, or
places specified in the application; and
(9) the proposed duration of the electronic surveillance.
50 U.S.C. § 1804(a)(1)-(9).
1. The Certification
An application to the FISC for a F ISA order must include a certification
from a high-ranking Executive Branch official with national security

responsibilities that:

(A) the certifying official deems the information sought to be
foreign intelligence information;

(B) a significant purpose of the surveillance is to obtain foreign
intelligence information;

 
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(C) such information cannot reasonably be obtained by normal
investigative techniques;

(D) designates the type of foreign intelligence information being
sought according to the categories described in [50 U.S.C. §]
1801(e); and

(E) includes a statement of the basis for the certification that —

(i) the information sought is the type of foreign
intelligence information designated; and

(ii) such information cannot reasonably be obtained by
normal investigative techniques.

50 U.S.C. § 1804(a)(6); see also 50 U.S.C. § 1823(a)(6).

2. Minimization Procedures

The Attorney General has adopted, and the FISC has approved,

minimization procedures that regulate the acquisition, retention, and dissemination
of non-publicly available information concerning unconsenting United States
persons obtained through FISA-authorized electronic surveillance or physical
search, including persons who are not the targets of the FISA authorities. FISA
requires that such minimization procedures be:

reasonably designed in light of the purpose and technique

of the particular surveillance, to minimize the acquisition

and retention, and prohibit the dissemination, of

nonpublicly available information concerning

unconsenting United States persons consistent with the

need of the United States to obtain, produce, and

disseminate foreign intelligence information.

50 U.S.C. 8§ 1801(h)(1); see 1821(4)(A).

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In addition, minimization procedures also include “procedures that allow for
the retention and dissemination of information that is evidence of a crime which
has been, is being, or is about to be committed and that is to be retained or
disseminated for law enforcement purposes.” 50 U.S.C. §§ 1801(h)(3), 1821(4)(c).

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3. Attorney General’s Approval

FISA further requires that the Attorney General approve applications for

electronic surveillance, physical search, or both, before they are presented to the
_ FISC.

C. THE FISC’S ORDERS

Once approved by the Attorney General, the application is submitted to the
FISC and assigned to one of its judges. The FISC may approve the requested
electronic surveillance, physical search, or both, only upon finding, among other
things, that:

(1) the application has been made by a “Federal officer” and has
been approved by the Attorney General;

(2) there is probable cause to believe that (A) the target of the
electronic surveillance and/or physical search is a foreign power
or an agent of a foreign power, and that (B) the facilities or
places at which the electronic surveillance is directed are being
used, or are about to be used, by a foreign power or an agent of a
foreign power, or that the premises or property to be searched is,
or is about to be, owned, used, possessed by, or is in transit to or
from, a foreign power or an agent of a foreign power;

 
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(3) the proposed minimization procedures meet the statutory
requirements set forth in section 1801(h) (electronic
surveillance) and section 1821(4) (physical search);

(4) the application contains all of the statements and
certifications required by section 1804 (electronic surveillance)
or section 1823 (physical search); and

(5) if the target is a United States person, the certifications are
not clearly erroneous.

50 U.S.C. §§ 1805(a)(1)-(4), 1824(a)(1)-(4).
FISA defines “foreign power” to mean —

(1) a foreign government or any component, thereof, whether or
not recognized by the United States;

(2) a faction of a foreign nation or nations, not substantially
composed of United States persons;

(3) an entity that is openly acknowledged by a foreign
government or governments to be directed and controlled by
such foreign government or governments;

(4) a group engaged in international terrorism or activities in
preparation therefor;

(5) a foreign-based political organization, not substantially
composed of United States persons;

(6) an entity that is directed and controlled by a foreign
government or governments; or

(7) an entity not substantially composed of United States persons

that is engaged in the international proliferation of weapons of
mass destruction.

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50 U.S.C. § 1801(a)(1)-(7); see also 50 U.S.C. § 1821(1) (adopting definitions
from 50 U.S.C. § 1801).
“Agent of a foreign power” means —
(1) any person other than a United States person, who—

(A) acts in the United States as an officer or employee of a
foreign power, or as a member of a foreign power as defined
in subsection (a)(4);

(B) acts for or on behalf of a foreign power which engages in
clandestine intelligence activities in the United States
contrary to the interests of the United States, when the
circumstances of such person’s presence in the United States
indicate that such person may engage in such activities in the
United States, or when such person knowingly aids or abets
any person in the conduct of such activities or knowingly
conspires with any person to engage in such activities;

(C) engages in international terrorism or activities in
preparation therefore [sic];

(D) engages in the international proliferation of weapons of
mass destruction, or activities in preparation therefor; or

(E) engages in the international proliferation of weapons of
mass destruction, or activities in preparation therefor, for or
on behalf of a foreign power; or

(2) any person who —
(A) knowingly engages in clandestine intelligence gathering
activities for or on behalf of a foreign power, which activities

involve or may involve a violation of the criminal statutes of
the United States;

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(B) pursuant to the direction of an intelligence service or
network of a foreign power, knowingly engages in any other
clandestine intelligence activities for or on behalf of such
foreign power, which activities involve or are about to
involve a violation of the criminal statutes of the United
States;

(C) knowingly engages in sabotage or international terrorism,
or activities that are in preparation therefor, for or on behalf
of a foreign power;
(D) knowingly enters the United States under a false or
fraudulent identity for or on behalf of a foreign power or,
while in the United States, knowingly assumes a false or
fraudulent identity for or on behalf of a foreign power; or
(E) knowingly aids or abets any person in the conduct of
activities described in subparagraphs (A), (B), or (C) or
knowingly conspires with any person to engage in activities
described in subparagraphs (A), (B), or (C).
50 U.S.C. § 1801(b)(1) and (2); see also 50 U.S.C. § 1821(1) (adopting definitions
from 50 U.S.C. § 1801).

The FISA application must establish probable cause to believe the target is
acting as an agent of a foreign power at the time of the application. See United
States v. Abu-Jihaad, 531 F. Supp. 2d 299, 310 (D. Conn. 2008) (finding that the
FISA information was lawfully collected and finding specifically that “[e]ach
application contained facts establishing probable cause to believe that, at the time

the application was submitted to the FISC, the target of the FISA collection was an

agent of a foreign power... .”), aff'd, 630 F.3d 102, 129 (2d Cir. 2010); United

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States v. Squillacote, 221 F.3d 542, 554 (4th Cir. 2000) (concluding that the FISA
applications established “probable cause to believe that . . . [the targets] were
agents of a foreign power at the time the applications were granted”); Global Relief
Found. Inc. v. O'Neill, 207 F. Supp. 2d 779, 790 (N.D. Ill. 2002) (concluding that
“the FISA application established probable cause . . . at the time the search was
conducted and the application was granted”), aff'd 315 F.3d 748 (7th Cir. 2002).
However, FISA provides that “[i]n determining whether or not probable cause
exists .. a judge may consider past activities of the target, as well as facts and
circumstances relating to current or future activities of the target.” 50 U.S.C. —
§§ 1805(b), 1824(b).

If the FISC has made all of the necessary findings and is satisfied that the
FISA application meets the statutory provisions, the FISC issues an ex parte order
authorizing the electronic surveillance, physical search, or both, requested in the
application. 50 U.S.C. §§ 1805(a), 1824(a). The order must specify:

(1) the identity, if known, or a description of the specific target
of the collection;

(2) the nature and location of each facility or place at which the
electronic surveillance will be directed or of each of the premises
or properties that will be searched;

(3) the type of information sought to be acquired and the type of

communications or activities that are to be subjected to the
electronic surveillance, or the type of information, material, or

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property that is to be seized, altered, or reproduced through the
physical search;

(4) the manner and means by which electronic surveillance will
be effected and whether physical entry will be necessary to effect
that surveillance, or a statement of the manner in which the
physical search will be conducted;
(5) the period: of time during which electronic surveillance is
approved and/or the authorized scope of each physical search,
and
(6) the applicable minimization procedures.

50 U.S.C. §§ 1805(c)(1), (2)(A), 1824(c)(1), (2)(A).

Under FISA, electronic surveillance or physical search targeting a United
States person may be approved for up to 90 days, and those targeting a non-United
States person may be approved for up to 120 days. 50 U.S.C. §§ 1805(d)(1),
1824(d)(1). Extensions may be granted, but only if the United States submits
another application that complies with FISA’s requirements. An extension for
electronic surveillance or physical search targeting a United States person may be
approved for up to 90 days, and one targeting a non-United States person may be
approved for up to one year. 50 U.S.C. §§ 1805(d)(2), 1824(d)(2).

II. DISTRICT COURT’S REVIEW OF FISC ORDERS
FISA authorizes the use in a criminal prosecution of information obtained or

derived from any FISA-authorized electronic surveillance, provided that advance

authorization is obtained from the Attorney General, 50 U.S.C. § 1806(b), and that

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proper notice is subsequently given to the court and to each aggrieved person
against whom the information is to be used.” 50 U.S.C. § 1806(c)-(d). Upon
receiving notice, an aggrieved person against whom the information is to be used
may move to suppress the FISA information on two grounds: (1) the information
was unlawfully acquired; or (2) the electronic surveillance was not conducted in
conformity with an order of authorization or approval. 50 U.S.C. § 1806(e). In
addition, FISA contemplates that a defendant may file a motion or request under
any other statute or rule of the United States to discover or obtain applications,
orders, or other materials relating to electronic surveillance, i.e., the FISA
materials. 50 U.S.C. § 1806(f).

A. THE REVIEW IS TO BE CONDUCTED IN CAMERA AND
EX PARTE

In assessing the legality of FISA-authorized electronic surveillance, the
district court:

shall, notwithstanding any other law, if the Attorney
General files an affidavit under oath that disclosure or an
adversary hearing would harm the national security of the
United States, review in camera and ex parte the
application, order, and such other materials relating to the
surveillance as may be necessary to determine whether
the surveillance of the aggrieved person was lawfully
authorized and conducted."*

 

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50 U.S.C. § 1806(f). On the filing of the Attorney General’s affidavit or
declaration, such as has been filed here, the court “may disclose to the aggrieved
person, under appropriate security procedures and protective orders, portions of the
application, order, or other materials relating to the surveillance only where such
disclosure is necessary to make an accurate determination of the legality of the
surveillance.” 50 U.S.C. §1806(f). Thus, the propriety of the disclosure of any
FISA application or order to a defendant may not even be considered unless and
until the district court has first concluded that it is unable to make an accurate
determination of the legality of the acquired collection after reviewing the
government’s submissions in camera and ex parte. See United States v. Amawi,
695 F. 3d 457, 474 (6th Cir. 2012) (noting district court’s “in camera review of the
FISA materials”); United States v. Belfield, 692 F.2d 141, 147 (D.C. Cir. 1982). If
the district court is able to make an accurate determination of the legality of the
electronic surveillance based on its in camera, ex parte review, then the court may
not order disclosure of any of the FISA materials to the defense, unless otherwise
required by due process. See Abu-Jihaad, 630 F.3d at 129 (quoting 50 U.S.C.

§ 1806(g)); United States v. El-Mezain, 664 F.3d 467, 566 (5th Cir. 2011); United

States v. Mohammad, 339 F. Supp. 3d 724, 737 (N.D. Ohio 2018).

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1. In Camera, Ex Parte Review Is the Rule

Federal courts have repeatedly and consistently held that FISA anticipates an
ex parte, in camera determination is to be the rule, with disclosure and an
adversarial hearing being the exception, occurring only when necessary. See
United States v. Amawi, 531 F. Supp. 2d 832, 837 (N.D. Ohio 2008) (“Where on
the basis of what it receives from the government in camera and under seal, a
district court concludes that it can determine whether a FISA surveillance and
search was lawful, it may not order disclosure of any of the FISA materials.”),
aff'd 695 F.3d 457 (6th Cir. 2012); see also United States v. Omar, 786 F.3d 1104,
1110 (8th Cir. 2015) (citing United States v. Isa, 923 F.2d 1300, 1306 (8th Cir.
1991)); United States v. Sarkissian, 841 F.2d 959, 964 (9th Cir. 1988) (quoting
Belfield, 692 F.2d at 147); United States v. Duggan, 743 F.2d 59, 78 (2d Cir. 1984)
(quoting Belfield, 692 F.2d at 147).'* In fact, every court but one (whose decision

was subsequently overturned by an appellate court)’* that has addressed a motion

 

't In Duggan, the Second Circuit explained that disclosure might be necessary if the
judge’s initial review revealed potential irregularities such as “possible misrepresentations of
fact, vague identification of persons to be surveilled or surveillance records which include a
significant amount of nonforeign intelligence information, calling into question compliance with
the minimization standards contained in the order.” 743 F.2d at 78 (quoting S. Rep. 95-604, at 58
(1978), reprinted in 1978 U.S.C.C.A.N. 3904, 3960).

'S In United States v. Daoud, the district court ruled that it was capable of making the
determination, but nevertheless ordered the disclosure of FISA materials to the defense. No. 12
Cr 723, 2014 WL 321384, at *8 (N.D. Ill. Jan. 29, 2014). The government appealed the Daoud
court’s order to the U.S. Court of Appeals for the Seventh Circuit, which overturned the district
court’s decision to disclose FISA materials, stating, “So clear is it that the materials were

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to disclose FISA materials or to suppress FISA information has been able to reach
a conclusion as to the legality of the FISA collection at issue based on its in
camera, ex parte review. See, e.g., El-Mezain, 664 F.3d at 566 (quoting district
court’s statement that no court has ever held an adversarial hearing to assist the
court); United States v. Stewart, 590 F.3d 93, 126-28 (2d Cir. 2009); In re Grand
Jury Proceedings of the Special Apr. 2002 Grand Jury (In re Grand Jury
Proceedings), 347 F.3d 197, 203 (7th Cir. 2003) (noting that no court at the time
had ordered disclosure of FISA materials); United States v. Badia, 827 F.2d 1458,
1463 (11th Cir. 1987); Mohammad, 339 F. Supp. 3d at 737; Abu-Jihaad, 531 F.
Supp. 2d at 310, aff'd, 630 F.3d at 129-30; United States v. Rosen, 447 F. Supp. 2d
538, 546 (E.D. Va. 2006); United States v. Sattar, No. 02-CR-395, 2003 WL
22137012, at *6 (S.D.N.Y. Sept. 15, 2003) (citing United States v. Nicholson, 955
F. Supp. 588, 592 & n.11 (E.D. Va. 1997)) (noting “this court knows of no
instance in which a court has required an adversary hearing or disclosure in
determining the legality of a FISA surveillance’).

As the exhibits in the Sealed Appendix make clear, there is nothing
extraordinary about the FISA-authorized electronic surveillance in this case that

would justify the production and disclosure of highly sensitive and classified FISA

 

properly withheld from defense counsel that there is no need for a remand to enable the district
judge to come to the same conclusion, because she would have to do so.” United States v.
Daoud, 755 F.3d 479, 485 (7th Cir. 2014).

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materials or the suppression of FISA-obtained or -derived evidence. Here, the
FISA materials are well-organized and easily reviewable by the Court in camera
and ex parte, and they are fully and facially sufficient to allow the Court to make
an accurate determination that the FISA information was lawfully acquired and
that the electronic surveillance was made in conformity with an order of
authorization or approval. In other words, the materials presented “are
straightforward and readily understood.” In re Kevork, 634 F. Supp. 1002, 1008
(C.D. Cal. 1985), aff'd, 788 F.2d 566 (9th Cir. 1986). Moreover, as in other cases,
“t]he determination of legality in this case is not complex.” Belfield, 692 F.2d at
147; see also United States y. Hasbajrami, No. 11-CR-623 (JG), 2016 WL
1029500, at *14 (E.D.N.Y. Feb. 18, 2016) (finding the review of the FISA
materials was “relatively straightforward and not complex” such that the court
“was able to evaluate the legality of the challenged surveillance without
concluding that due process first warranted disclosure”) (internal quotations and
citations omitted). This Court, much like the aforementioned courts, is capable of
reviewing the FISA materials in camera and ex parte and making the requisite
legal determination without an adversarial hearing.

In addition to the specific harm that would result from the disclosure of the
FISA materials in this case, which is detailed in the classified declaration of an

Assistant Director of the FBI in support of the Attorney General’s Declaration and

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Claim of Privilege, the underlying rationale for non-disclosure is clear: “In the
sensitive area of foreign intelligence gathering, the need for extreme caution and
sometimes even secrecy may not be overemphasized.” United States v. Ott, 637 F.
Supp. 62, 65 (E.D. Cal. 1986), aff'd, 827 F.2d 473 (9th Cir. 1987); United States v.
Medunjanin, No. 10-CR-19-1, 2012 WL 526428, at *9 (S.D.N.Y. Feb. 16, 2012)
(finding persuasive the government’s argument that “unsealing the FISA materials
in this case would provide the defense with unnecessary details of an
extraordinarily sensitive anti-terrorism investigation”); Amawi, 531 F. Supp. 2d at
838 (finding that the FISA materials contained considerable “operational and
technical information” the disclosure of which could adversely affect the
government’s ability to obtain “useful foreign intelligence information”).
Confidentiality is critical to national security. “If potentially valuable
intelligence sources” believe that the United States “will be unable to maintain the
confidentiality of its relationship to them, many [of those sources] could well
refuse to supply information. ...” Central Intelligence Agency v. Sims, 471 U.S.
159, 175 (1985). When considering whether the disclosure of classified sources,
methods, techniques, or information would harm the national security, federal
courts have expressed a great reluctance to replace the considered judgment of
Executive Branch officials charged with the responsibility of weighing a variety of

subtle and complex factors in determining whether the disclosure of information

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may lead to an unacceptable risk of compromising the intelligence gathering

process, and determining whether foreign agents, spies, and terrorists are capable

of piecing together a mosaic of information that, if revealed, could reasonably be

expected to harm the national security of the United States. See Sims, 471 U.S. at

180; Amawi, 531 F. Supp. 2d at 837 (refusing to “second-guess” the Attorney

General’s declaration stating that disclosure or an adversary hearing would harm

national security). An adversary hearing is not only unnecessary to aid the Court

in the straightforward task before it, but such a hearing would also create potential

dangers that courts have consistently sought to avoid. As the Belfield court

explained:

Congress recognized the need for the Executive to
engage in and employ the fruits of clandestine
surveillance without being constantly hamstrung by
disclosure requirements. The statute is meant to
“reconcile national intelligence and counterintelligence
needs with constitutional principles in a way that is
consistent with both national security and individual
rights.” In FISA the privacy rights of individuals are
ensured not through mandatory disclosure, but through
its provisions for in-depth oversight of FISA surveillance
by all three branches of government and by a statutory
scheme that to a large degree centers on an expanded
conception of minimization that differs from that which
governs law enforcement surveillance.

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692 F.2d at 148 (footnotes and citations omitted).
2. In Camera, Ex Parte Review Is Constitutional

The constitutionality of FISA’s in camera, ex parte review provisions has
been affirmed by every federal court that has considered the matter, including the
Sixth Circuit. See United States v. Damrah, 412 F.3d 618, 624 (6th Cir. 2005)
(“FISA’s requirement that the district court conduct an ex parte, in camera review
of FISA materials does not deprive a defendant of due process”); see also Abu-
Jihaad, 630 F.3d at 129 (affirming district court’s determination that “its in
camera, ex parte review permitted it to assess the legality of the challenged
surveillance and the requirements of due process did not counsel otherwise”);
Stewart, 590 F.3d at 126 (noting that “the procedures fashioned in FISA [are] a
constitutionally adequate balancing of the individual’s Fourth Amendment rights
against the nation’s need to obtain foreign intelligence information.” (quoting
Duggan, 743 F. 2d at 73)); El-Mezain, 664 F.3d at 567; ACLU Found. of So. Cal.
y. Barr, 952 F.2d 457, 465 (D.C. Cir. 1991) (procedure under FISA “is an
acceptable means of adjudicating the constitutional rights of persons who have
been subjected to FISA surveillance” (citing Belfield, 692 F.2d at 141)); Ott, 827
F.2d at 476-77.

In summary, FISA mandates a process by which the district court must

review FISA applications, orders, and related materials to determine whether the

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FISA information was lawfully acquired and whether the electronic surveillance
was made in conformity with an order of authorization or approval. In this case,
the Attorney General has filed the required declaration invoking that procedure and
has declared that disclosure or an adversary hearing would harm national security.
Accordingly, an in camera, ex parte review by this Court is the appropriate method
to determine whether the FISA information was lawfully acquired and whether the
electronic surveillance was conducted in conformity with an order of authorization
or approval.

B. THE DISTRICT COURT’S SUBSTANTIVE REVIEW

In evaluating the legality of the FISA collection, a district court’s review
should determine: (1) whether the certification submitted by the Executive Branch
in support of a FISA application was properly made; (2) whether the application
established the probable cause showing required by FISA; and (3) whether the
collection was properly minimized. See Abu-Jihaad, 630 F.3d at 130-31; see also
50 U.S.C. §1806(f).

1. Standard of Review of Probable Cause

Although federal courts are not in agreement as to whether the FISC’s
probable cause determination should be reviewed de novo or accorded due
deference, the material under review here satisfies either standard of review. See

Omar, 786 F. 3d at 1112 (“[W]e have no hesitation concluding that probable cause

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under FISA existed under any standard of review.”); Abu-Jihaad, 630 F.3d at 130
(“Although the established standard of judicial review applicable to FISA warrants
is deferential, the government’s detailed and complete submissions in this case
would easily allow it to clear a higher standard of review”). The government
respectfully submits that it is appropriate to accord due deference to the findings of
the FISC, but notes that a number of courts, including district courts in the Sixth
Circuit, have reviewed the FISC’s probable cause determination de novo.'> While
in the minority, other courts have afforded due deference to the findings of the
FISC. Abu-Jihaad, 630 F.3d at 130; accord United States v. Ahmed, No. 1:06-CR-
147, 2009 U.S. Dist. LEXIS 120007, at *21-22 (N.D. Ga. Mar. 19, 2009) (FISC’s
“determination of probable cause should be given ‘great deference’ by the
reviewing court’) (citing [/linois v. Gates, 462 U.S. at 236).

In the analogous area of criminal searches and surveillance, the law in the
Sixth Circuit, as well as that in other federal circuits, accords great deference to a
magistrate judge’s probable cause determinations. See, e.g., United States v. Allen,

211 F.3d 970, 973 (6th Cir. 2000); see also United States v. Krupa, 658 F.3d 1174,

 

16 See, e. g., Mohammad, 339 F. Supp. 3d at 736; United States v. Alwan, No. 1:11-CR-
13, 2012 WL 399154, at *8-10 (W.D. Ky. Feb. 7, 2012); United States v. Warsame, 547 F. Supp.
2d 982, 990 (D. Minn. 2008) (citing Illinois v. Gates, 462 U.S. 213, 214 (1983)); Rosen, 447 F.
Supp. 2d at 545; United States v. Kashmiri, No. 09-CR-830-4, 2010 WL 4705159, at *1 (N.D.
Ill. Nov. 10, 2010). In each of these cases, the courts applied a de novo standard in reviewing the
FISC’s probable cause findings, and each court found the applications before it contained
probable cause.

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1177 (9th Cir. 2011); United States v. Smith, 581 F.3d 692, 694 (8th Cir. 2009);
United States v. Joseph, 709 F.3d 1082, 1093 (11th Cir. 2013) (citing Illinois v.
Gates, 462 U.S. at 236); United States v. Robinson, 724 F.3d 878, 884 (7th Cir.
2013). It would thus be consistent for a court that is reviewing FISA-authorized
electronic surveillance to adopt the same posture it would when reviewing the
probable cause determination of a criminal search warrant issued pursuant to Rule
41 of the Federal Rules of Criminal Procedure. See Ahmed, 2009 USS. Dist.
LEXIS 120007, at *21-22 (according the same deference to the FISC’s probable
cause determination as to a magistrate’s criminal probable cause determination); cf
United States v. Cavanagh, 807 F.2d 787, 790 (9th Cir. 1987) (concluding that a
FISA order can be considered a warrant since it is issued by a detached judicial
officer and is based on a reasonable showing of probable cause).
2. Probable Cause Standard

FISA requires a finding of probable cause that the target is a foreign power
or an agent of a foreign power and that each facility or place at which the
electronic surveillance is directed is being used, or is about to be used, by a foreign
power or an agent of a foreign power. 50 U.S.C. §1805(a). It is this standard — not
the standard applicable to criminal search warrants — that this Court must apply.
See Omar, 786 F.3d at 1111 (“[R]ather than focusing on probable cause to believe

that a person has committed a crime, the FISA standard focuses on the status of the

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target as a foreign power or an agent of a foreign power.”) (quoting E/-Mezain, 664
F.3d at 564); United States v. Duka, 671 F.3d 329, 338 (3d Cir. 2011); Cavanagh,
807 F.2d at 790 (citing United States v. United States District Court, 407 U.S. 297,
322 (1972)); Medunjanin, 2012 WL 526428, at *6 (“[N]o branch of government —
whether executive or judicial — need make a probable cause finding of actual or
potential criminal activity to justify a FISA warrant.”); Alwan, 2012 WL 399154,
at *5.

[CLASSIFIED MATERIAL REDACTED]

3. Standard of Review of Certifications

Certifications submitted in support of a FISA application should be
“subjected to only minimal scrutiny by the courts,” and are “presumed valid.”
Duggan, 743 F.2d at 77 & n.6 (citing Franks v. Delaware, 438 U.S. 154, 171
(1978)); United States v. Campa, 529 F.3d 980, 993 (11th Cir. 2008) (quoting
Badia, 827 F.2d at 1463); United States v. Sherifi, 793 F. Supp. 2d 751, 760
(E:D.N.C. 2011); Warsame, 547 F. Supp. 2d at 990. When a FISA application is
presented to the FISC, “[t]he FISA Judge, in reviewing the application, is not to
second-guess the executive branch official’s certification that the objective of the
surveillance is foreign intelligence information.” Mohammad, 339 F. Supp. 3d at
736 (quoting Duggan, 743 F.2d at 77). Likewise, “Congress intended that... a

reviewing [district] court should have no greater authority to second-guess the

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executive branch’s certifications than has the FISA judge.” Duggan, 743 F. 2d at
77; see also Inve Grand Jury Proceedings, 347 F.3d at 204-05; Badia, 827 F.2d at
1463; United States v. Rahman, 861 F. Supp. 247, 250 (S.D.N.Y. 1994), aff'd, 189
F. 3d 88 (2d Cir. 1999); United States v. Islamic Am. Relief Agency (IARA), No.
07-00087-CR-W-NKL, 2009 WL 5169536, at *4 (W.D. Mo., Dec. 21, 2009);

Kashmiri, 2010 WL 4705159, at *1.

The district court’s review should determine whether the certifications were
made in accordance with FISA’s requirements. See United States v. Omar, No. Cr.
09-242, 2012 WL 2357734, at *3 (D. Minn. June 20, 2012) (“the reviewing court
must presume as valid ‘the representations and certifications submitted in support
of an application for FISA surveillance’ ... absent a showing sufficient to trigger a
Franks hearing”) (quoting Duggan, 743 F. 2d at 77); see also Alwan, 2012 WL
399154, at *7 (‘The [court is not to second-guess whether the certifications were
correct, but merely to ensure they were properly made.””) (quoting Ahmed, 2009
U.S. Dist. LEXIS 120007, at *20). When the target is a United States person, the
district court should also ensure that each certification is not “clearly erroneous.”
Campa, 529 F.3d at 994: Duggan, 743 F.2d at 77; Kashmiri, 2010 WL 4705159, at
*2, A “clearly erroneous” finding is established only when “although there is
evidence to support it, the reviewing court on the [basis of the] entire evidence is
left with the definite and firm conviction that a mistake has been committed.”

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United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948); United States v.

Garcia, 413 F.3d 201, 222 (2d Cir. 2005); JARA, 2009 WL 5169536, at *4

(identifying “clearly erroneous” standard of review for FISA certifications).
4, FISA Is Subject to the “Good Faith” Exception

Even assuming arguendo that this Court determines that a particular FISC
order was not supported by probable cause, or that one or more of the FISA
certification requirements were not met, the evidence obtained or derived from the
FISA-authorized electronic surveillance is, nonetheless, admissible under the
“good faith” exception to the exclusionary rule articulated in United States v. Leon,
468 U.S. 897 (1984). See Ahmed, 2009 U.S. Dist. LEXIS 120007, at *25 n.8, 26-
27 (noting that federal officers are entitled to rely in good faith on a FISA warrant
(citing United States v. Ning Wen, 477 F.3d 896, 897 (7th Cir. 2007))); see also
Duka, 671 F.3d at 347 (finding “exclusionary rule plainly does not apply” to FISA-
derived evidence “even if [the court] agreed with defendants that the ‘significant
purpose’ test is unconstitutional”).

In Illinois v. Krull, the Supreme Court “ruled categorically that ‘suppressing
evidence obtained by an officer acting in objectively reasonable reliance on a
statute’ would not further the purposes of the exclusionary rule, even if that statute
is later declared unconstitutional.” Duka, 671 F.3d at 346-37 (quoting Krull, 480

U.S. 340, 349-50 (1987)). The exclusionary rule should not be imposed to punish

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an officer who acts in objectively reasonable reliance on a duly enacted statute.
“Because the rule ‘is designed to deter police misconduct,’ it applies only where it
will ‘alter the behavior of individual law enforcement officers or the policies of
their departments.” Duka, 671 F.3d at 346 (quoting Leon, 468 US. at 916-18).
Here, the exclusion of evidence would serve no such deterrent purpose. See Davis
y. United States, 564 U.S. 229, 237 (2011); United States v. Bin Laden, 126 F.
Supp. 2d 264, 282-84 (S.D.N.Y. 2000).

In this case, there is no basis to find that any declarations or certifications at
issue in this case were deliberately or recklessly false. See Leon, 468 U.S. at 914-
15; Massachusetts v. Sheppard, 468 U.S. 981, 987-88 (1984). Further, there are no
facts indicating that the FISC failed to act in a neutral and detached manner in
authorizing the electronic surveillance at issue. See Leon, 468 U.S. at 914-15.
Moreover, as the Court will see from its in camera, ex parte review of the FISA
materials, facts establishing the requisite probable cause were submitted to the
FISC, the FISC’s orders contained all of the requisite findings, and “well-trained
officers” reasonably relied on those orders. Therefore, in the event that the Court
questions whether a particular FISC order was supported by sufficient probable
cause, the information obtained pursuant to that order would be admissible under

Leon’s good faith exception to the exclusionary rule.

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IV.

THE FISA INFORMATION WAS LAWFULLY ACQUIRED AND
THE ELECTRONIC SURVEILLANCE WAS MADE IN
CONFORMITY WITH AN ORDER OF AUTHORIZATION OR
APPROVAL

[CLASSIFIED MATERIAL REDACTED

A. THE INSTANT FISA APPLICATION(S) MET FISA’S
PROBABLE CAUSE STANDARD

[CLASSIFIED MATERIAL REDACTED]

B. THE CERTIFICATION(S) COMPLIED WITH FISA
[CLASSIFIED MATERIAL REDACTED]

1. Foreign Intelligence Information
[CLASSIFIED MATERIAL REDACTED]

2. “A Significant Purpose”
[CLASSIFIED MATERIAL REDACTED]

3. Information Not Reasonably Obtainable Through
Normal Investigative Techniques

[CLASSIFIED MATERIAL REDACTED]

C. THE ELECTRONIC SURVEILLANCE WAS CONDUCTED IN
COMEFORMITY WITH AN ORDER OF AUTHORIZATION OR
APPROVAL

[CLASSIFIED MATERIAL REDACTED]

1. The Minimization Procedures

Once a reviewing court is satisfied that the FISA information was lawfully

acquired, it must then examine whether the electronic surveillance was lawfully

conducted. See 50 U.S.C. § 1806(e)(2). To do so, the reviewing court must

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determine whether the government followed the relevant minimization procedures

to appropriately minimize the information acquired pursuant to FISA.

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FISA’s legislative history and the applicable case law demonstrate that the
definitions of “minimization procedures” and “foreign intelligence information”
were intended to take into account the realities of collecting foreign intelligence
because the activities of persons engaged in clandestine intelligence gathering or
international terrorism are often not obvious on their face. The degree to which
information is required to be minimized varies somewhat given the specifics of a
particular investigation, such that less minimization at acquisition is justified when
“the investigation is focusing on what is thought to be a widespread conspiracy”
and more extensive surveillance is necessary “to determine the precise scope of the
enterprise.” In re Sealed Case, 310 F.3d 717, 741 (FISA Ct. Rev. 2002).
Furthermore, the activities of foreign powers and their agents are often not obvious
from an initial or cursory overhear of conversations. To the contrary, agents of
foreign powers frequently engage in coded communications, compartmentalized
operations, the use of false identities and other practices designed to conceal the
breadth and aim of their operations, organization, activities and plans. See, e.g.,
United States v. Salameh, 152 F.3d 88, 154 (2d Cir. 1998) (noting that two

conspirators involved in the 1993 bombing of the World Trade Center in New

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York referred to the bomb plot as the “study” and to terrorist materials as
“university papers”). As one court explained, “[iJinnocuous-sounding
conversations may in fact be signals of important activity; information on its face
innocent when analyzed or considered with other information may become
critical.” Kevork, 634 F. Supp. at 1017 (quoting H.R. Rep. No. 95-1283, pt. 1, at
55 (1978)). One court recognized that “the Congress that enacted FISA observed
that ‘bits and pieces of information, which taken separately could not possibly be
considered “necessary” may together over time take on significance.””
Medunjanin, 2012 WL 526428, at *4 (quoting H.R. Rep. No. 95-1283, pt. 1, at 58-
59). As a result, “courts have construed ‘foreign intelligence information’ broadly
and sensibly allowed the government some latitude in its determination of what is
foreign intelligence information.” Rosen, 447 F. Supp. 2d at 551.

The nature of the foreign intelligence information sought also impacts
implementation of the minimization procedures at the retention and dissemination
stages. There is a legitimate need to conduct a thorough post-acquisition review of
FISA information that involves a United States person who is acting as an agent of
a foreign power. As Congress explained:

It is “necessary” to identify anyone working with him in
this network, feeding him information, or to whom he
reports. Therefore, it is necessary to acquire, retain and

disseminate information concerning all his contacts and
acquaintances and his movements. Among his contacts

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and acquaintances, however, there are likely to be a large
number of innocent persons. Yet, information concerning
these persons must be retained at least until it is
determined that they are not involved in the clandestine
intelligence activities and may have to be disseminated in
order to determine their innocence.

H.R. Rep. No. 95-1283, pt. 1, at 58. Indeed, at least one court has cautioned that,
when a United States person communicates with an agent of a foreign power, the
government would be “remiss in meeting its foreign counterintelligence
responsibilities” if it did not thoroughly “investigate such contacts and gather
information to determine the nature of those activities.” United States v. Thomson,
752 F. Supp. 75, 82 (W.D.N.Y. 1990).

In light of these realities, Congress recognized that “no electronic
surveillance can be so conducted that innocent conversations can be totally
eliminated.” See S. Rep. No. 95-701, at 39 (1978), reprinted in 1978
U.S.C.C.AN. 3973, 4008 (quoting United States v. Bynum, 485 F.2d 490, 500 (2d
Cir. 1973)). The Fourth Circuit reached the same conclusion in United States v.
Hammoud, stating that the “mere fact that innocent conversations were recorded,
without more, does not establish that the government failed to appropriately
minimize surveillance.” 381 F.3d 316, 334 (4th Cir. 2004), rev’d on other
grounds, 543 U.S. 1097 (2005), op. reinstated in pertinent part, 405 F.3d 1034

(4th Cir. 2005).

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Accordingly, in reviewing the adequacy of minimization efforts, the test to
be applied is neither whether innocent conversations were intercepted, nor whether
mistakes were made with respect to particular communications. Rather, as the
U.S. Supreme Court stated in the context of Title III surveillance, there should be
an “objective assessment of the [agents’] actions in light of the facts and
circumstances confronting [them] at the time.” Scott v. United States, 436 U.S.
128, 136 (1978). “The test of compliance is ‘whether a good-faith effort to
minimize was made.’” United States v. Mubayyid, 521 F. Supp. 2d 125, 135 (D.
Mass. 2007); see also Sattar, 2003 WL 22137012, at *10-11; S. Rep. No. 95-701,
at 39-40, 1978 U.S.C.C.A.N., at 4008-09 (stating that the court’s role is to
determine whether “on the whole, the agents have shown a high regard for the right
of privacy and have done all they reasonably could do to avoid unnecessary
intrusion”).

Moreover, as noted above, FISA expressly states that the government is not
required to minimize information that is “evidence of a crime,” whether or not it is
also foreign intelligence information. 50 U.S.C. §§ 1801(h)(3), 1821(4)(c); see
also Isa, 923 F.2d at 1304 (noting that “[t]here is no requirement that the ‘crime’
be related to foreign intelligence”). As a result, to the extent that certain

communications of a United States person may be evidence of a crime or otherwise

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may establish an element of a substantive or conspiratorial offense, such
communications need not be minimized. See id. at 1305.

Assuming, for the sake of argument, that certain communications were not
minimized in accordance with the SMPs, suppression would not be the appropriate
remedy with respect to those communications that met the standard. Cf United
States v. Falcone, 364 F. Supp. 877, 886-87 (D.N.J. 1973), aff'd, 500 F.2d 1401
(3d Cir. 1974) (Title IID). As discussed above, absent evidence that “on the whole”
there has been a “complete” disregard for the minimization procedures, the fact
that some communications should have been minimized does not affect the
admissibility of others that were properly acquired and retained. FISA’s legislative
history reflects that Congress intended only a limited sanction for errors of
minimization:

As the language of the bill makes clear, only that
evidence which was obtained unlawfully or derived from
information obtained unlawfully would be suppressed. If,
for example, some information should have been
minimized but was not, only that information should be

suppressed; the other information obtained lawfully
should not be suppressed.

H.R. Rep. No. 1283, pt. 1, at 93; see also Falcone, 364 F. Supp. at 886-87;
Medunjanin, 2012 WL 526428, at *12 (disclosure and suppression not warranted

where “failure to adhere to [the minimization] protocol was de minimis”).

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2. The FISA Information Was Appropriately Minimized

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Based upon this information, we respectfully submit that the government
lawfully conducted the FISA collection discussed herein. Consequently, for the
reasons stated above, the Court should find that the FISA collection discussed
herein was lawfully conducted under the minimization procedures approved by the
FISC and applicable to the FISA collection discussed herein.

Vv. THE COURT SHOULD REJECT THE DEFENDANT’S LEGAL
ARGUMENTS

The defendant seeks: (1) a determination by the government regarding the
submission of an affidavit from the Attorney General attesting that disclosure of
“the FISA application, FISA Order, and all cogent materials thereto” (7.e., the
FISA materials) would harm the national security; (2) a copy of any such affidavit;
(3) an in camera, ex parte review of the FISA materials by this Court to determine
whether the surveillance was lawfully authorized and appropriately conducted; and
(4) disclosure of the FISA materials. (Doc. 28 at 22-23). As explained above,
pursuant to FISA, the government is filing herewith an affidavit in which the
Attorney General claims under oath that disclosure of the FISA materials or an
adversary hearing would harm the national security of the United States. See 50
USS.C. 8 1806(f). That affidavit is included in the public, unclassified filing; thus,

the defendant will have access to it. As the defendant’s motion correctly stated,

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the statute requires that this Court “shall” review the FISA materials in camera and
ex parte to determine whether the surveillance at issue was lawfully authorized and
conducted. (Doc. 28 at 3-4). See 50 U.S.C. § 1806(f). As the Court will see
through ex parte, in camera review of the FISA materials, disclosure of the FISA
materials is not necessary to make an accurate determination of the legality of the
surveillance at issue. Accordingly, the defendant’s demand for disclosure of the
FISA materials must be denied.””

A. THE GOVERNMENT HAS COMPLIED WITH FISA’S
MINIMIZATION REQUIREMENTS

The defendant claims that, “[t]his court is empowered to disclose FISA
related materials to defendant because ‘such disclosure is necessary to make an
accurate determination of the legality of the surveillance.’” (Doc. 28 at 6) (quoting
50 U.S.C. § 1806(f)). The defendant omitted two key words when quoting FISA:
“only where.” This Court may disclose the FISA materials “only where such
disclosure is necessary to make an accurate determination of the legality of the
surveillance.” 50 U.S.C. §1806(f) (emphasis added). The Court must conduct its
review of those materials in camera and ex parte, and disclosure is within the

Court’s discretion only following that review and only if the Court is unable to

 

'7 To the extent that this Court construes any of the defendant’s arguments as supporting
suppression of the FISA materials, the government respectfully submits that, for the reasons
discussed herein, the surveillance was lawfully authorized and conducted; therefore, there is no
basis for suppression.

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determine the legality of the electronic surveillance without the assistance of
defense counsel. See Amawi, 531 F. Supp. 2d at 837 (“Where on the basis of what
it receives from the government in camera and under seal, a district court
concludes that it can determine whether a FISA surveillance and search was
lawful, it may not order disclosure of any of the FISA materials.”). Ifthe district
court is able to make an accurate determination of the legality of the electronic
surveillance based on its in camera, ex parte review of the materials submitted by
the United States, then the court may not order disclosure of any of the FISA
materials to the defense, unless otherwise required by due process. See Abu-
Jihaad, 630 F.3d at 129 (quoting 50 U.S.C. § 1806(g)); E/-Mezain, 664 F.3d at
566; Mohammad, 339 F. Supp. 3d at 737.

This holding is fully supported by the legislative history of 50 U.S.C. §
1806(f), which states: “The court may order disclosure to [the defense] only if it
finds that such disclosure is necessary to make an accurate determination of the
legality of the surveillance .... Once a judicial determination is made that the
surveillance was lawful, a motion for discovery ... must be denied.” S. Rep. No.
95-701, at 64-65. As this Court will see from its review, the FISA materials are
presented in a well-organized and straightforward manner that will allow the Court
to make its determination of the lawfulness of the FISA collection without input

from defense counsel.

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In support of the claim that disclosure “is necessary and proper to make an
accurate determination of the legality of the surveillance,” the defendant cites to
FISA’s legislative history and case law stating,

in determining whether disclosure is necessary, the court

should consider whether after its initial review, and [sic]

irregularities are revealed, such as whether the materials

evidence a possible misrepresentation of fact; the persons

to be surveilled are not clearly identified; or the

surveillance records include a significant amount of non-

foreign intelligence information, indicating a possible

issue with the minimization standard utilized.
(Doc. 28 at 6-7) (quoting United States v. Mahamud, 838 F. Supp. 2d 881, 885 (D.
Minn. 2012)). The defendant does not allege misrepresentations of fact or the
failure to identify the persons to be surveilled. However, the defendant claims that
in this case “the surveillance was for domestic intelligence information, or
alternatively was a significant amount of non-foreign intelligence information,
both in violation of the minimization procedure.” (Doc. 28 at 7). The defendant
points to the requirement that a FISA application establish probable cause that the
target is a foreign power or an agent of a foreign power, though he does not
specifically allege that the government did not satisfy the probable cause
requirements of FISA. (Doc. 28 at 8). The defendant also claims that he was

charged with a crime that “ha[s] absolutely nothing to do with national security.”

(Doc. 28 at 10).

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The defendant’s argument that the acquisition of a significant amount of
non-foreign intelligence information violates the minimization procedures
similarly fails. FISA was drafted with the intent to provide “latitude” to the
government with regard to minimization. Rosen, 447 F. Supp. 2d at 552 (citing
House Report, part 1, at 58). In addressing minimization, “courts have construed
‘foreign intelligence information’ broadly and sensibly allowed the government
some latitude in its determination of what is foreign intelligence information.”
Rosen, 447 F. Supp. 2d at 551. Guided by these principles, courts have rejected
the defendant’s argument. See id. at 546 (defendants’ “claim that the discovery
obtained from the government contains a significant amount of non-foreign
intelligence information .. . relies upon an inordinately narrow view of what

constitutes foreign intelligence information, and is therefore unavailing”).
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B. THE GOVERNMENT HAS COMPLIED WITH THE
FOURTH AMENDMENT

The defendant calls into question the purpose of the electronic surveillance
at issue, alleging, “the government obtained a FISA order against defendant even
though their primary purpose was for a domestic criminal prosecution, and their
action(s) violated the Fourth Amendment.” (Doc. 28 at 13). First, the defendant

claims that because the defendant has not committed any of the delineated

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“international criminal acts, ... [t]he government’s case must be dismissed with
prejudice for violation of § 1806(k).” Jd. The defendant misconstrues 50 U.S.C. §
1806(k), which allows federal officers who conduct electronic surveillance to
acquire foreign intelligence information to consult with federal law enforcement
officers to coordinate efforts to investigate or protect against actual or potential
attack or other grave hostile acts, sabotage, or international terrorism, or
clandestine intelligence activities, by foreign powers or their agents. The purpose
of this provision, which was added with the passage of the USA PATRIOT Act in
2001, was to “expressly sanction[] consultation and coordination between
intelligence and law enforcement officials ....” In re Sealed Case, 310 F. 3d at
728-29. “[S]uch coordination ‘shall not preclude’ the government’s certification
that a significant purpose of the surveillance is to obtain foreign intelligence
information, or the issuance of an order authorizing surveillance.” Jd. at 729
(quoting 50 U.S.C. § 1806(k)(1)). That provision cannot properly be read, as
defendant seemingly does, to prohibit consultation and coordination to investigate
or protect against crimes that do not have an obvious nexus to national security.
To the contrary, the statute permits the government to retain and disseminate
evidence of other crimes.

As part of the USA PATRIOT Act, Congress also “amended FISA to change

‘the purpose’ language of 1804(a)(7)(B) to ‘a significant purpose.’” Jd. The

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defendant appears to concede that the “significant purpose” requirement is
constitutional when he states, “electronic surveillance may proceed without the
protections of a traditional warrant based on probable cause only if a court
determines that the ‘significant purpose’ of the surveillance is to obtain foreign
intelligence information.” (Doc. 28 at 21).'* The “significant purpose” test has
been repeatedly upheld, including recently by another district court in the Sixth
Circuit. In Mohammad, the court rejected the defendants’ claim that decisions
upholding the constitutionality of the “significant purpose” test should be revisited
in light of public disclosures regarding government surveillance programs. The
court ruled that the Sixth Circuit’s decision in Damrah continued to be controlling
precedent and foreclosed the defendants’ Fourth Amendment challenge. 339 F.
Supp. 3d at 739 (citing Damrah, 412 F. 3d at 625). Indeed, every court that has
addressed this issue has found the significant purpose test to be reasonable under
the Fourth Amendment. See, e.g., Duka, 671 F3d. at 343 (“We agree with our
sister courts of appeals and the Foreign Intelligence Surveillance Court of Review
that the amended FISA’s ‘significant purpose’ standard is reasonable under the
Fourth Amendment.”); Abu-Jihaad, 630 F.3d at 128 (“We conclude simply that

FISA’s ‘significant purpose’ requirement . . . is sufficient to ensure that the

 

'8 The defendant cites to United States v. Johnson, 952 F.2d 565, 572 (1st Cir. 1991) to
support that proposition. However, Johnson was decided prior to passage of the Patriot Act in
2001, and therefore, prior to the inclusion of the “significant purpose” language.

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executive may only use FISA to obtain a warrant when it is in good faith pursuing
foreign intelligence gathering... .”); Ning Wen, 477 F.3d at 897; Damrah, 412
F.3d at 625; In re Sealed Case, 310 F.3d at 746; Mubayyid, 521 F. Supp. 2d at
139; United States v. Marzook, 435 F. Supp. 2d 778, 786 (N.D. Ill. 2006); United
States v. Benkahla, 437 F. Supp. 2d 541, 554 (E.D. Va. 2006).

The defendant even appears to concede that the government satisfied the
“significant purpose” standard in this case.’ The defense motion states, “In the
case at bar the purpose of the FISA Order was to secure foreign intelligence for
National Security. However, the government’s evidence gathering against
defendant was per-se for domestic criminal prosecution.” (Doc. 28 at 21-22),
Such an argument ignores that the government, in conducting lawful foreign
intelligence surveillance, may properly retain and disseminate evidence of crimes.
See 50 U.S.C. §1801(h)(3) (requiring that court-approved foreign intelligence
minimization procedures “allow for the retention and dissemination of information
that is evidence of a crime which has been, is being, or is about to be committed
and that is to be retained or disseminated for law enforcement purposes”); Ning
Wen, 477 F.3d at 898 (“If, while conducting [FISA] surveillance, agents discover
evidence of a domestic crime, they may use it to prosecute for that offense.”);

Duggan, 743 F.2d at 78 (“[W]e emphasize that otherwise valid FISA surveillance

 

'9 ICLASSIFIED MATERIAL REDACTED]

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is not tainted simply because the government can anticipate that the fruits of such
surveillance may later be used, as allowed by [50 U.S.C.] § 1806(b), as evidence in
a criminal trial.”); see In re Sealed Case, 310 F.3d at 731 (“minimization
procedures allow . . . the retention and dissemination of non-foreign intelligence
information which is evidence of ordinary crimes for preventative or prosecutorial
purposes.”).

Moreover, the fact that criminal prosecution is one of the possible purposes
is not fatal.2” See Abu-Jihaad, 630 F.3d at 128-29; In re Sealed Case, 310 F.3d at
735. The fact that “the government may later choose to prosecute is irrelevant,” as
“FISA contemplates prosecution based on evidence gathered through surveillance”
to secure foreign intelligence information. Sarkissian, 841 F.2d at 965. The Abu-
Jihaad court rejected the argument that FISA is unconstitutional because it does
not require certification of a primary purpose to obtain foreign intelligence
information and stated, “The fact that the government may also be pursuing other
purposes, including gathering evidence for criminal prosecution, compels no
different conclusion.” Jd. at 128-29. Accordingly, the defendant’s claim that the
government violated the Fourth Amendment is without merit. For these reasons,

the Court should deny the defendant’s request for disclosure of the FISA materials.

 

20 A criminal prosecution motive is only fatal if the Court finds the Government’s

significant purpose certification in the FISA application is clearly erroneous. See Abu-Jihaad,
630 F.3d at 128.

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VI. CONCLUSION: THERE IS NO BASIS FOR THE COURT TO

SUPPRESS THE FISA INFORMATION OR DISCLOSE THE

FISA MATERIALS

Based on the foregoing analysis, the government respectfully submits that

the Court must conduct an in camera, ex parte review of the FISA materials and
the government’s classified submission, and should: (1) find that the electronic
surveillance at issue in this case was both lawfully authorized and lawfully
conducted in compliance with FISA; (2) hold that disclosure of the FISA materials
and the government’s classified submissions to the defendant is not authorized
because the Court is able to make an accurate determination of the legality of the
surveillance without disclosing the FISA materials or any portions thereof; (3) hold
that the fruits of the electronic surveillance should not be suppressed; (4) deny the
defendant’s motion without an evidentiary hearing; and (5) order that the FISA

materials and the government’s classified submissions be maintained under seal by

the Classified Information Security Officer or his or her designee.”

 

21 A district court order granting motions or requests under 50 U.S.C. § 1806(g), a

decision that electronic surveillance was not lawfully authorized or conducted, and an order
requiring the disclosure of FISA materials is each a final order for purposes of appeal. 50 U.S.C.
§ 1806(h). Should the Court conclude that disclosure of any item within any of the FISA
materials or suppression of any FISA-obtained or -derived information may be required, given
the significant national security consequences that would result from such disclosure or
suppression, the government would expect to pursue an appeal. Accordingly, the government
respectfully requests that the Court stay any such order pending an appeal by the United States of
that order.

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Respectfully submitted,

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